NAGOG INMATE FINANCIAL RESPONSIBILITY * 11-17-2009

ene BOL. OF Gaee 8: 5 ALTO BNNERALS SBAI GAREON /BABENGage 1 of 16:38:17

REGNO: 38360-037 LNAME: DOBIE OBLG NO: 1 FUNC: ADD
CYCLE PERIOD. « vss0esseed LIS2009

ADJ TYPE..: PAYMENT ADJ REASON.: PRIOR PYMT ADJ AMT: 700.00

RECEIPT DT: 11-13-2009 RECEIPT NO.: 84637014883

PLAN NO...: PLAN STATUS: ADJ SEQ: 3 FACL: HAZ
DCSN NO...: DCSN TYPE..: DCSN PAY ORIGIN:

REMARKS...: ( OVERPAYMENT MADE TO USDC GREENBELT MD FOR 700.00 )

( )
DT ADJ LAST UPDT: 11-17-2009 TM ADJ LAST UPDT: 16:38:17 USERID: HAZ4508

me to te ene OBLIGATION INFORMATION ---~-------------~-~--------
TYPE OBLG: nae USDC STATUS: COMPLETEDN

AMT’ IMPOSED wc. eet 700.00

TOT PAYMENTS... (2): 1080.00

TOT REFUNDS..... (cE) 0.00

TOT CORRECTIONS. (+): 0.00

BALANCE: « swans ¢ 9 mars : 380.00-

GOOO05 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED

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